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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     JASMINE SANCHEZ,                                     Case No. 3:20-cv-00610-MMD-CLB
4                                            Plaintiff                    ORDER
5            v.
6     WILLIAM REUBART,
7                                         Defendant
8
9    I.     DISCUSSION

10          On October 29, 2020, Plaintiff, an inmate in the custody of the Nevada Department

11   of Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983. (ECF

12   No. 1-1). Plaintiff has neither paid the full $400 filing fee for this matter nor filed an

13   application to proceed in forma pauperis.

14          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

15   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

16   action without prepaying the full $400 filing fee. To apply for in forma pauperis status, the

17   inmate must submit all three of the following documents to the Court:

18          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this

19          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

20          page 3),

21          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

22          official (i.e. page 4 of this Court’s approved form), and

23          (3) a copy of the inmate’s prison or jail trust fund account statement for the

24   previous six-month period.

25          The Court will grant Plaintiff a one-time opportunity to file a fully complete

26   application to proceed in forma pauperis containing all three of the required documents,

27   or in the alternative, pay the full $400 filing fee for this action on or before December 29,

28   2020. Absent unusual circumstances, the Court will not grant any further extensions of
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1    time.
2            If Plaintiff is unable to file a fully complete application to proceed in forma pauperis
3    with all three required documents or pay the full $400 filing fee on or before December
4    29, 2020, this case will be subject to dismissal without prejudice for Plaintiff to file a new
5    case with the Court when Plaintiff is either able to acquire all three of the documents
6    needed to file a fully complete application to proceed in forma pauperis or pays the full
7    $400 filing fee.
8            A dismissal without prejudice means Plaintiff does not give up the right to refile the
9    case with the Court, under a new case number, when Plaintiff has all three documents
10   needed to submit with an application to proceed in forma pauperis. Alternatively, Plaintiff
11   may choose not to file an application to proceed in forma pauperis and instead pay the
12   full filing fee of $400 on or before December 29, 2020 to proceed with this case.
13           The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1), but the Court
14   will not file the complaint unless and until Plaintiff timely files a fully complete application
15   to proceed in forma pauperis with all three documents or pays the full $400 filing fee.
16   II.     CONCLUSION
17           For the foregoing reasons, IT IS ORDERED that the Clerk of the Court will send
18   Plaintiff the approved form application to proceed in forma pauperis by an inmate, as well
19   as the document entitled information and instructions for filing an in forma pauperis
20   application.
21           IT IS FURTHER ORDERED that on or before December 29, 2020, Plaintiff will
22   either pay the full $400 filing fee for a civil action (which includes the $350 filing fee and
23   the $50 administrative fee) or file with the Court:
24           (1) a completed Application to Proceed in Forma Pauperis for Inmate on this
25           Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two
26           signatures on page 3),
27           (2) a Financial Certificate properly signed by both the inmate and a prison or jail
28           official (i.e. page 4 of this Court’s approved form), and



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1           (3) a copy of the inmate’s prison or jail trust fund account statement for the
2    previous six-month period.
3           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
4    application to proceed in forma pauperis with all three documents or pay the full $400
5    filing fee for a civil action on or before December 29, 2020, this case will be subject to
6    dismissal without prejudice for Plaintiff to refile the case with the Court, under a new case
7    number, when Plaintiff has all three documents needed to file a complete application to
8    proceed in forma pauperis or pays the full $400 filing fee.
9           IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
10   (ECF No.1-1) but will not file it at this time.
11                  November 2, 2020
            DATED: __________________
12
13                                                UNITED STATES MAGISTRATE JUDGE
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